Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 1 of 13. PageID #: 163444




                              EXHIBIT 219
Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 2 of 13. PageID #: 163445
Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 3 of 13. PageID #: 163446
Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 4 of 13. PageID #: 163447
Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 5 of 13. PageID #: 163448
Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 6 of 13. PageID #: 163449
Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 7 of 13. PageID #: 163450
Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 8 of 13. PageID #: 163451
Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 9 of 13. PageID #: 163452
Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 10 of 13. PageID #: 163453
Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 11 of 13. PageID #: 163454
Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 12 of 13. PageID #: 163455
Case: 1:17-md-02804-DAP Doc #: 1964-7 Filed: 07/23/19 13 of 13. PageID #: 163456
